Appellate Case: 23-5080    Document: 116     Date Filed: 07/02/2025      Page: 1
              Supreme Court of the United States
                     Office of the Clerk
                 Washington, DC 20543-0001
                                                                Scott S. Harris
                                                                Clerk of the Court
                                                                (202) 479-3011
                                June 30, 2025


Clerk
United States Court of Appeals for the Tenth
Circuit
Byron White Courthouse
1823 Stout Street
Denver, CO 80257


       Re: Kevin Stitt, Governor of Oklahoma, et al.
           v. Rowan Fowler, et al.
           No. 24-801
           (Your No. 23-5080)


Dear Clerk:

      The Court today entered the following order in the above-entitled case:

      The petition for a writ of certiorari is granted. The judgment is
vacated, and the case is remanded to the United States Court of Appeals for
the Tenth Circuit for further consideration in light of United States v.
Skrmetti, 605 U. S. ___ (2025).

       The judgment or mandate of this Court will not issue for at least
thirty-two days pursuant to Rule 45. Should a petition for rehearing be filed
timely, the judgment or mandate will be further stayed pending this Court's
action on the petition for rehearing.


                                       Sincerely,




                                       Scott S. Harris, Clerk
